                     Case 22-30530-lkg        Doc 84      Filed 12/30/23     Page 1 of 3




               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS


IN RE:                                                                          In Proceedings
                                                                                Under Chapter 13
Charlotte S Hawkins
aka Charlotte Hawkins                                                           BK 22−30530−lkg
dba Char's Beauty Bar
dba Char's Candy Store
fdba Charlotte's Custom CR

             Debtor(s)
SSN/Individual Taxpayer ID Number (ITIN):

xxx−xx−7748



                                ORDER CLOSING CASE

     The trustee in the above−captioned chapter 13 case having performed all duties required of
him/her in the administration of the estate; IT IS ORDERED that the chapter 13 trustee is
discharged as trustee in the case, that he/she and the sureties on his/her bond are released from
further liability in the case, and that the case is CLOSED.

ENTERED: December 28, 2023                                  /s/ Laura K. Grandy
                                                            UNITED STATES BANKRUPTCY JUDGE
                                  Case 22-30530-lkg                   Doc 84          Filed 12/30/23              Page 2 of 3
                                                               United States Bankruptcy Court
                                                                Southern District of Illinois
In re:                                                                                                                  Case No. 22-30530-lkg
Charlotte S Hawkins                                                                                                     Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0754-3                                                   User: ao1492bnc                                                             Page 1 of 2
Date Rcvd: Dec 28, 2023                                                Form ID: 348                                                               Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 30, 2023:
Recip ID                 Recipient Name and Address
db                     + Charlotte S Hawkins, 1804 Martin Luther King Dr, East Saint Louis, IL 62205-1615
cr                     + CBFL Rentals, LLC, PO Box 648, Mayfield, KY 42066-0033
cr                     + Illinois Realty Group, Dixon & Johnston, PC, 101 West Main Street, Belleville, IL 62220-1501

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
cr                     + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                         Dec 28 2023 18:02:00      Exeter Finance LLC, c/o AIS Portfolio Services,
                                                                                                                   LL, 4515 N Santa Fe Ave. Dept. APS, Oklahoma
                                                                                                                   City, OK 73118-7901

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 30, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 28, 2023 at the address(es) listed
below:
Name                               Email Address
Colt Johnson
                                   on behalf of Creditor CBFL Rentals LLC cjohnson@hrbklaw.com

Jerry D Graham, Jr
                                   on behalf of Debtor Charlotte S Hawkins court@jdgrahamlaw.com jdgrahampc@gmail.com;r47365@notify.bestcase.com

John J Johnston
                          Case 22-30530-lkg               Doc 84         Filed 12/30/23                Page 3 of 3
District/off: 0754-3                                       User: ao1492bnc                                                      Page 2 of 2
Date Rcvd: Dec 28, 2023                                    Form ID: 348                                                        Total Noticed: 4
                          on behalf of Creditor Illinois Realty Group johnjohnston@dixonjohnston.com

Melinda Joette Maune
                          on behalf of Creditor Credit Acceptance Corporation mmaune@atllp.com bkdeptmailbox@atllp.com

Russell C Simon
                          simontrustee@yahoo.com pacer@simonch13trustee.com

Sumner A Bourne
                          on behalf of Creditor CBFL Rentals LLC notices@rafoolbourne.com, bournesr78612@notify.bestcase.com

United States Trustee
                          USTPRegion10.es.ecf@usdoj.gov


TOTAL: 7
